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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

Case No.: 9:12-cv-81040-RSR

ALICE EPPS
Plaintiff,

OCWEN FINANCIAL CORPORATION
And DOES | through 10, inclusive,
Defendants.

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NOTICE OF SETTLEMENT

NOW COMES, Plaintiff, Alice Epps, by and through the undersigned counsel and
hereby informs the Court that a settlement of the present matter has been reached and is
in the process of finalizing settlement, which Plaintiff anticipates will be completed

within the next 30 days.

Plaintiff therefore requests that this honorable Court vacate all dates currently set

on the calendar for the present matter.

Respectfully submitted,

Dated: January 9, 2013 By: Benjamin H. Crumley
Benjamin H. Crumley

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